 Case 1:94-cr-00067-WS           Doc# 336       Filed 06/26/09     Page 1 of 2       PageID# 503




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )     CRIMINAL NO. 94-00067-WS
                                                   )
GREGORY MAURICE SMITH,                             )
                                                   )
       Defendant.                                  )


                                               ORDER

       This matter comes before the Court on defendant Gregory Maurice Smith’s Motion for
Reconsideration (doc. 334) and Motion to Correct Clerical Error (doc. 335).
       On June 2, 2009, the undersigned entered an Order (doc. 333) denying as frivolous
Smith’s motion to dismiss for lack of subject matter jurisdiction, which was predicated on the
fact that the sentencing judge (not the jury) made the drug quantity findings on which his
sentence was based back in October 1994. The June 2 Order found that subject matter
jurisdiction was plainly present pursuant to 18 U.S.C. § 3231 because Smith was charged with
and convicted of violating laws of the United States. In his Motion for Reconsideration, Smith
insists that even if he misunderstands the concept of subject matter jurisdiction, the fact remains
that he has challenged it. This much is true, but the fact also remains that his challenge is utterly
meritless for the reasons stated in the June 2 Order. The mere fact of a frivolous challenge to
jurisdiction is not a valid basis for reconsideration.
       Smith also attempts to distance himself from his failed Apprendi argument by insisting
that he “challenges the jurisdiction of the court to impose a sentence greater than that authorized
by Congress for the crime of conviction, where there is no Congressional authorization for such
imposition.” (Doc. 334, at 3.) This contention is simply counterfactual. Smith was convicted
of, among other things, violations of 21 U.S.C. §§ 841 and 846. For those offenses, Congress
provided that the violator “shall be sentenced to a term of imprisonment which may not be less
than 10 years or more than life” if the quantity of crack cocaine exceeds 50 grams. 21 U.S.C. §
841(b)(1). At sentencing, Judge Hand made a finding by a preponderance of the evidence that
 Case 1:94-cr-00067-WS          Doc# 336       Filed 06/26/09      Page 2 of 2       PageID# 504




the quantity of crack cocaine for which Smith was responsible was a minimum of 15 kilograms,
and sentenced him to life (later reduced to 360 months). If Smith’s contention is that Congress
did not authorize a life (or 360-month) sentence for violations of §§ 841 and 846, he is mistaken,
given the plain language of § 841(b)(1). If (despite his protestations otherwise) his contention is
that the jury and not the sentencing judge should have made the drug quantity findings that
triggered his eligibility for an enhanced penalty under § 841(b)(1), then that is an improper
Apprendi argument for the reasons stated in the June 2 Order. Either way, Smith has raised no
colorable basis for questioning the subject matter jurisdiction of this District Court to enter
judgment against him some 15 years after the fact. The Motion for Reconsideration is therefore
denied.
       As for the Motion to Correct Clerical Error, Smith contends that his October 1994
Judgment mistakenly reflects a criminal history category of IV, where the PSR reflected that he
had only 5 criminal history points, which would place him in criminal history category III. He is
incorrect. Smith’s Motion omits the fact that the PSR stated that while his “criminal convictions
result in a subtotal criminal history score of 5,” an additional 2 criminal history points were
added pursuant to U.S.S.G. § 4A1.1(d) because Smith was on probation for a previous
conviction at the time of committing the offenses of conviction herein. (PSR (doc. 316), ¶¶ 29-
30.) Thus, the PSR concluded that Smith had a total of 7 criminal history points, which equates
to a criminal history category of IV. (Id., ¶ 31.) At sentencing, Judge Hand adopted these
portions of the PSR and properly assigned a criminal history category of IV in computing
Smith’s sentence. There was no clerical error in the Judgment; therefore, Smith’s Motion to
Correct Clerical Error (doc. 335) is denied.


       DONE and ORDERED this 26th day of June, 2009.



                                                       s/ WILLIAM H. STEELE
                                                       UNITED STATES DISTRICT JUDGE




                                                 -2-
